
This was a suit in Chancery in behalf of Polly Webb, an infant, by John Webb, her next friend, claiming a legacy bequeathed by the will of John Smith, against Thomas. R. Rootes administrator de bonis non. No answer was filed by the defendant. A decree nisi having been made, and a copy duly served, the chancellor referred the accounts between the parties to a commissioner, who reported sufficient assets to pay the legacy, besides leaving a large balance in the hands of the administrator. A final decree was pronounced, “that the defendant pay to-the plaintiff the sum of 420 pounds, with interest, after the rate of five per centum per annum, on 150 pounds part thereof, from the first day of June last till payment, &amp;c ”
Upon an appeal to this court, (the cause having been argued by Call for the appellee, and no counsel appearing for the appellant,) the decree was reversed, on the ground that the legatee should have been directed to give bond and security to refund, proportionally, in case debts should arise to charge the estate.
